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                        UNITED STATES DISTRICT COURT
                                            for the
                                 District of Massachusetts


 JOSE MARIA DECASTRO, an individual              )   Case No. 1:22-cv-11421
                                                 )
 Plaintiff,                                      )   PLAINTIFF’S MOTION FOR
                                                 )   RECONSIDERATION OF MOTION
 v.                                              )   TO CORRECT OR ALTERNATIVE
                                                 )   ACTION; AND FOR EXTENSION OF
 JOSHUA ABRAMS, an individual, et al.,           )   TIME TO RESPOND TO COUNTER
                                                 )   CLAIM
 Defendants.                                     )
 ____________________________________

              PLAINTIFF’S MOTION FOR RECONSIDERATION OF MOTION TO

CORRECT OR ALTERNATIVELY LEAVE TO FILE THE MOTION NUNC PRO TUNC

                                   WITH CLARIFICATION


        I, Plaintiff Jose DeCastro (“I” or “My”), hereby moves this Honorable Court to

reconsider its denial of my Motion to Correct (Docket # 59) (“MTC”) as moot. The

forementioned motion was clearly requesting a nunc pro tunc correction to correct this Courts

error which would make my First Amended Complaint (Docket # 62) moot instead of the other

way around.

        In the alternative, I move that this Court grant me the leave to file an amended MTC

dated nunc pro tunc to the original filing date of the forementioned MTC clarifying that the MTC

is requesting a nunc pro tunc correction.
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            PLAINTIFF’S MOTION FOR EXTENSION OF TIME TO RESPOND TO

                                        COUNTER CLAIM

       I hereby move this Honorable Court to grant an extension of time to allow for at least 21

days after pending dispositive motions, including the MTC, are decided. I have not prepared a

response with the understanding that time was not being tolled. Additionally, I expected any

response rendered moot once this court rules in the interest of justice and allows a complete

dismissal without prejudice through an order on the authority cited or after an evidentiary

hearing on the missing Notice of Voluntary Dismissal filing. The harassment of my legal team

by the Defendants, indicated in my Motion for Contempt, has also affected things. I filed the

amended complaint to clarify things so as not to waste the parties’ time dealing with things that

were not going to be decided in this action, not the opposite.

                                              CONCLUSION

       I will continue to protect my right to appeal this court’s error, as described in my MTC

and its supplemented Points and Authorities and will have an appeal option should I fail to win

on the merits. If I’m forced to litigate a copyright claim in this circuit, I will need additional time

to serve YouTube with my amended complaint under L.R. 15.1 to add them as a party,

Defendants’ permissive counter claims, which are required to establish jurisdiction, will be

successfully attacked on their lack of jurisdiction both subject and personal. In the interest of

justice and saving monies that the Defendants claim that I’m trying to run up, I pray for my

motions leading to a voluntary dismissal be granted.

                    CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

                   The court has waived this local rule for the remainder of this action.




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                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.


Dated: November 21, 2022                          Respectfully submitted,

                                                  /s/ Jose DeCastro
                                                  Jose DeCastro
                                                  1258 Franklin St.
                                                  Santa Monica, CA 90404
                                                  chille@situationcreator.com
                                                  (310) 963-2445
                                                  Pro Se




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